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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

State of Texas,

       Plaintiff,

v.

The United States of America;
Miguel Cardona, in his official
capacity as Secretary of Education;
                                                           No. ___________
United States Department of
Education; Catherine Lhamon, in
her official capacity as Assistant Secretary
for Civil Rights, Department of Education;
Randolph Wills, in his official capacity
as Deputy Assistant Secretary for
Enforcement, Department of Education,

       Defendants.


                            State of Texas’s Original Complaint


        1.      Through an exercise in notice-and-comment rulemaking ordered by
President Biden, the U.S. Department of Education has attempted to effect radical social

change in our Nation’s schools by purporting to “interpret” Title IX of the Education

Amendments Act of 1972 to prohibit discrimination based on sexual orientation and gender

identity. Stymied in its attempts to implement this agenda through informal agency

guidance, and unable to amend Title IX through the legislative process, the Department

has now formally amended the Code of Federal Regulations. This Final Rule tells States

and other regulated parties that they must ignore biological sex or face enforcement actions

and the loss of federal education funding.
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        2.      Contrary to the Department’s assertions, the Supreme Court’s decision in

Bostock v. Clayton County, 590 U.S. 644 (2020), does not require—or even allow—these

interpretations. Bostock held only that terminating an employee “simply for being

homosexual or transgender” constitutes discrimination “because of … sex” under Title

VII. Id. at 649–51, 655 (quoting 42 U.S.C. § 2000e-2(a)(1)). The Court “assum[ed]” that

the term “sex” means “biological distinctions between male and female,” id. at 655, and it

made clear that its decision did not “sweep beyond Title VII to other federal or state laws

that prohibit sex discrimination” or address other issues not before the Court such as “sex-

segregated bathrooms, locker rooms, and dress codes.” Id. at 681.

        3.      In addition, the new regulations promise to repeat the disaster that was the

Department’s ill-advised 2011 Dear Colleague Letter, which had a detrimental impact on

publicly funded education across the country, including in Texas. The Final Rule walks

back many of the constitutional safeguards issued by the Trump Administration to ensure

that students accused of harassment have access to a fair hearing. At the same time, the

Final Rule redefines harassment to include constitutionally protected activity. Not only

does this put Texas schools in a no-win situation—where adherence to the Constitution

risks the loss of federal funds—but students and faculty risk having their futures upended
merely for refusing to go along with the Biden Administration’s radical agenda.

        4.      The Final Rule violates the Administrative Procedure Act (APA). 5 U.S.C.

§ 706. It is substantively unlawful because its purported “interpretations” of Title IX

squarely conflict with the text of that statute. Title IX, by its plain text, defines “sex” as

“one sex” that is male or female. See 20 U.S.C. § 1681(a)(5) (describing those institutions

which have a policy of admitting “only students of one sex”). The Department of

Education, furthermore, engaged in arbitrary-and-capricious decisionmaking when

promulgating these regulations because it failed to define the amorphous concepts of

“gender identity” and “sexual orientation,” failed to adequately consider all relevant

factors, and failed to adequately explain its reversal of past policies.
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       5.      Title IX does not apply to discrimination based on sexual orientation or

gender identity. But even if those concepts were protected against discrimination by Title

IX, the Final Rule’s provisions do not faithfully implement such protections because they

mark as unlawful school policies that do not discriminate based on those concepts—

instead, the Final Rule requires schools to discriminate based on sexual orientation and

gender identity by allowing single-sex programs and facilities but requiring opposite-sex

access to them for only those individuals with a transgender gender identity.

       6.      The Court should postpone the effective date of the Final Rule under

5 U.S.C. § 705 and preliminarily enjoin the Defendants from implementing the Final Rule

or interpreting Title IX to cover discrimination based on sexual orientation or gender

identity. And the Court should ultimately declare and hold unlawful the Final Rule, set it

aside under 5 U.S.C. § 706(2)(A) (i.e., vacate it), and permanently enjoin the Defendants

from implementing or enforcing it and from interpreting Title IX in this way.

                                       I.         Parties

       7.      Plaintiff Texas is a sovereign State of the United States.

       8.      Defendant the United States of America is the federal sovereign and is sued

under 5 U.S.C §§ 702–03 and 28 U.S.C. § 1346.
       9.      Defendant Miguel Cardona is the Secretary of the Department of

Education. He is sued in his official capacity.

       10.     Defendant the Department of Education is a cabinet-level executive branch

department of the United States. It is responsible for administering most federal assistance

to education; it administers and enforces Title IX.

       11.     Defendant Catherine Lhamon is the Assistant Secretary for Civil Rights at

the Department of Education. She is sued in her official capacity.

       12.     Defendant Randolph Wills is the Deputy Assistant Secretary for

Enforcement at the Department of Education. He is sued in his official capacity.


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                               II.     Jurisdiction and Venue

        13.     The Court has federal-question jurisdiction under 28 U.S.C. § 1331 because

this suit concerns the scope of the Department’s authority under Title IX, and it also arises

under the APA, 5 U.S.C. §§ 702–703.

        14.     Venue lies in this district under 28 U.S.C. § 1391(e)(1) because the

Defendants are agencies of the United States and officers of the United States in their

official capacities; Texas resides in this district; and a substantial part of the events or

omissions giving rise to Texas’s claims arose in this district.

                                     III.    Background

    A. Prior Regulatory Context

        15.     During the Obama Administration, the Department issued its misguided

2011 Dear Colleague Letter and 2014 Questions and Answers on Title IX Sexual Violence.

See Russlynn Ali, OCR, U.S. Dept. of Educ., Dear Colleague Letter: Sexual Violence (Apr.

4, 2011), https://bit.ly/4bgTX1Y; U.S. Dept. of Educ., Questions and Answers on Title IX
and Sexual Violence (Apr. 29, 2014), https://bit.ly/44ixq2u. Although neither underwent

notice and comment rulemaking, the two guidance documents put recipients in a no-win

situation where either conforming or failing to conform to the guidance documents would

expose them to significant risk of litigation.

        16.     The Dear Colleague Letter and 2014 Questions and Answers had a

detrimental impact on publicly funded education nationwide, including in Texas. Not only

did the two guidance documents introduce significant confusion over academic

institutions’ obligations under Title IX, but they also created incentives for academic

institutions to violate students’ constitutional rights in order to avoid incurring liability. To

offer some context, before 2011, the number of lawsuits filed against universities for failing

to provide due process in Title IX cases averaged one per year—by 2019, over 100 such

lawsuits were filed in that year alone. See Taylor Mooney, How Betsy DeVos plans to change


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the rules for handling sexual misconduct on campus, CBS NEWS (Nov. 24,

2019), https://cbsn.ws/4dib1GD.

       17.       In response to growing criticism, under the Trump Administration, the

Department rescinded both the Dear Colleague Letter and the 2014 Questions and

Answers in 2017. It soon became apparent, however, that the withdrawal could not repair

the damage caused by the two guidance documents on its own. See Candice Jackson, OCR,

U.S. Dept. of Educ., Dear Colleague Letter (Sept. 9, 2017). As the Department later

explained, neither action “require[ed] or result[ed] in wholesale changes to the set of

expectations guiding recipients’ responses to sexual harassment.” 85 Fed. Reg. at 30,029.

Hence, many, if not most, recipients “chose not to change their Title IX policies and

procedures” as a precaution against stigma and liability. Id.

       18.      The Department, therefore, initiated a round of notice-and-comment

rulemaking, after which it published a comprehensive set of regulations governing

recipients’ obligations to prevent sex discrimination in their programs and activities. See

Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving

Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (the “2020

Regulations”). The 2020 Regulations took effect on August 14, 2020.

       19.      The 2020 Regulations addressed at least three significant ambiguities in the

earlier guidance:

             a. First, the 2020 Regulations clearly demarcated, for the first time, the outer

                boundaries of recipients’ obligations and liability under Title IX with

                respect to sexual harassment.

             b. Second, the 2020 Regulations clarified the standard under which conduct or

                speech could constitute sex-based harassment—namely, that it be “so

                severe, pervasive, and objectively offensive that it effectively denies a

                person equal access.” 85 Fed. Reg. at 30,574.


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                c. Third, the 2020 Regulations reaffirmed the primacy of the U.S. Constitution

                   and adopted multiple safeguards to ensure that Title IX enforcement

                   protected the rights and interests of all parties to a disciplinary proceeding.

          20.      The 2020 Regulations also addressed the question of whether

discrimination “on the basis of sex” encompassed sexual orientation and gender identity.

Although the Department declined to define “sex” in the 2020 Regulations because it was

not necessary to effectuate the rules and would have consequences that extended outside

of the proposed rulemaking, the Department noted that “Title IX and its implementing

regulations include provisions that presuppose sex as a binary classification.” It further

observed that “provisions in the Department’s current regulations, which the Department

did not propose to revise in this rulemaking, reflect this presupposition.” 85 Fed. Reg. at

30,178.

   B. The Final Rule

          21.      From the start, President Biden opposed the 2020 Regulations, stating on

the campaign trail that he would order the Department to put a “quick end” to the 2020

Regulations if elected. See Joe Biden, Statement on the Trump Administration Rule to

Undermine Title IX and Campus Safety (May 6, 2020), http://bit.ly/3UDREj9.
          22.      Not seven months after the 2020 Regulations became effective, President

Biden followed through on that campaign promise. He issued an executive order charging

the Secretary of Education to review “all existing regulations, orders, guidance documents,

policies, and any other similar agency actions” for consistency with his administration’s

Title IX policy. Executive Order 14021, 86 Fed. Reg. 13,803 (Mar. 11, 2021),

http://bit.ly/4aWLPUI.

          23.      In that executive order, President Biden presupposed that “on the basis of

sex” included sexual orientation or gender identity. Id. The Department conducted its

review and subsequent rulemaking bound by President Biden’s instruction that Title IX


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should be interpreted as encompassing sexual orientation and gender identity

notwithstanding decades of precedent to the contrary.

       24.     On July 12, 2022, the Department published in the Federal Register a notice

of proposed rulemaking to amend the 2020 Regulations. See Notice of Proposed

Rulemaking, Nondiscrimination on the Basis of Sex in Education Programs or Activities

Receiving Federal Financial Assistance, 87 Fed. Reg. 41,390 (July 12, 2022). Texas,

through its Attorney General and Governor, submitted multiple comments before the 60-

day comment period for the Proposed Rule closed on September 12, 2022.

       25.     In its comments, Texas highlighted the burden the proposed regulations

would impose on the State, as well as the risk the regulations posed to constitutional rights.

The comments explained that the combination of expanding recipients’ obligation to

respond to sex discrimination, while simultaneously lowering the threshold of what fell

within that description, meant, in practice, that recipients would hyper-police interactions

among students, parents, and faculty for fear of being found noncompliant if individuals

affiliated with the recipient failed to recognize each person’s highly individualized,

potentially fluid, and unverifiable gender identity.
       26.     The comments further noted that much of proposed rule represented a

significant departure from the Departments’ past policies, yet the changes were neither

adequately explained nor grounded in the text, structure, or purpose of Title IX. As an

example, the Department hinged its redefinition of sex to include sexual orientation and

gender identity almost entirely on the U.S. Supreme Court’s opinion in Bostock. However,

as Texas pointed out in its comments, Bostock involved an unrelated statute that was

enacted nearly a decade earlier, pursuant to a different constitutional power, and did not

address questions involving “sex segregated bathrooms, locker rooms, and dress

codes”— all of which were not before the Court but appeared in the proposed rule.

       27.     Despite these deficiencies, the Department pushed forward and published

the Final Rule in the Federal Register on April 29, 2024. See Nondiscrimination on the
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Basis of Sex in Education Programs or Activities Receiving Financial Assistance, 89 Fed.

Reg. 33,474 (Apr. 29, 2024). The Final Rule purports to preempt all “State or local laws or

other requirements” that conflict with its terms, 89 Fed. Reg. at 33,885, and it applies to

any school “program or activity” regardless of whether the activity occurs within the

school— or even within the United States. 89 Fed. Reg. at 33,886 (to be codified at 34

C.F.R. § 106.11).
                       Redefining “On the Basis of Sex”
        28.     Title IX states, “[n]o person in the United States shall, on the basis of sex,

be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial

assistance.” 20 U.S.C. § 1681(a).

        29.     For the entire half century since its enactment, both the Department and

recipients have understood Title IX’s prohibition on sex discrimination to refer to a

person’s biological sex. Notwithstanding this history, the Final Rule redefines Title IX’s

prohibition on sex discrimination to include “discrimination on the basis of sex stereotypes,

sex characteristics, pregnancy or related conditions, sexual orientation, and gender

identity.” 89 Fed. Reg. 33,886 (to be codified at 34 C.F.R. § 106.10).

        30.     In accordance with the Department’s reinvention of Title IX, the Final Rule

threatens to withhold federal funding from schools that do not allow students access to

“restrooms and locker rooms” and comply with any “appearance codes (including dress

and grooming codes)” based on gender identity. See, e.g., 89 Fed. Reg. at 33,816. The Final

Rule dictates that a school violates Title IX’s nondiscrimination prohibition if a transgender

student is denied access to a bathroom or locker room of the opposite biological sex. See,

e.g., 89 Fed. Reg. at 33,818.

        31.     “The Department cannot enforce Title IX in a manner that requires

recipients to restrict any rights protected under the First Amendment.”85. Fed. Reg.

30,071. But under the Final Rule, recipients have an obligation under the Final Rule to

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“take specific actions … to promptly and effectively prevent sex discrimination,”

including what the Final Rule defines as sex-based harassment. 89 Fed. Reg. at 33,887. It

follows that recipients would have an obligation under the Final Rule to confront students

and employees who refuse to affirm someone’s gender identity, up to and including

disciplinary proceedings, or risk being found in noncompliance with Title IX.

          32.   The Final Rule also institutes a new, lower standard for sexual harassment.

The Final Rule stipulates that “[s]ex-based harassment, including harassment predicated

on sex stereotyping or gender identity, is covered by Title IX if it is sex-based, unwelcome,

subjectively and objectively offensive, and sufficiently severe or pervasive to limit or deny

a student’s ability to participate in or benefit from a recipient’s education program or

activity.” 89 Fed. Reg. at 33,516 (emphasis added).

          33.   In adopting this standard, the Final Rule expands Title IX’s prohibition on

sex-based harassment, contrary to Supreme Court precedent. Compare, e.g., 89 Fed. Reg.

33,498, with Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 649–50 (1999).

          34.   Under Davis, the Supreme Court held that Title IX’s proscriptions

included sexual harassment “that is so severe, pervasive, and objectively offensive that it

can be said to deprive the victims of access to the educational opportunities or benefits
provided by the school.” 526 U.S. at 650. The Final Rule ignores this precedent and

institutes a sweeping new standard that would subject students, faculty, and staff to

onerous investigations if they fail to use a transgender student’s preferred pronouns.

          35.   The 2020 Regulations purposefully adopted the Davis standard, “to ensure

that speech and expression are prohibited only when their seriousness and impact avoid

First Amendment concerns.” 85. Fed. Reg. 30142. The Final Rule departs from this policy

but fails to adequately justify the Department’s about-face; nor does it explain how the

looser standard conforms to the Constitution. The reason given by the Department is

simply that the Defendants “believe[] a broader standard is appropriate.” 89 Fed. Reg. at

33,498.
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         36.    The Final Rule also lacks objective standards, making every complaint

subjective, not limited to those who visibly identify as transgender but broadly encompasses

anyone who may even only temporarily or intermittently so identify, see Am. Psychiatric

Ass’n, Diagnostic and Statistical Manual of Mental Disorders 451 (5th ed. 2013) (defining

“transgender” to include “individuals who transiently” identify one way), or those with

nefarious intentions who are merely seeking access to a schoolgirls’ bathroom or locker

room for predatory purposes.

         37.    The Final Rule is therefore ambiguous, overbroad, and vague, and fails to

adequately notify schools of adequate compliance to avoid onerous investigations.

                        Misguided Reliance on Bostock
         38.    The Department lacks the legal justification to initiate and support such

radical departures in the interpretation of Title IX. The Department rests its redefinition

of sex discrimination almost entirely on the U.S. Supreme Court’s opinion in Bostock. But

that case’s “reasoning applies only to Title VII, as Bostock itself and [] subsequent cases

make clear.” L.W. ex rel. Williams v. Skrmetti, 73 F.4th 408, 420 (6th Cir. 2023) (Sutton,

C.J.).

         39.    To start with, Title VII prohibits employment discrimination “because of

such individual’s … sex[],”42 U.S.C. § 2000e-2(a), but Title IX prohibits education

discrimination “on the basis of sex,” 20 U.S.C. § 1681(a). The statutes thus contain

different language with different results for different contexts. Neese v. Becerra, 640 F.

Supp. 3d 668, 675–84 (N.D. Tex. 2022) (Kacsmaryk, J.) (Bostock and its reasoning do not

apply to Title IX). And “Bostock … was limited only to Title VII itself” and “d[id] not

stretch to [other statutes].” Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021);

see also Adams v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 808 (11th Cir. 2022) (en banc)

(holding that Bostock’s reasoning applies only to Title VII, and describing the argument that

it applies to Title IX as “faulty”).


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       40.     Defendants conflate Title IX’s prohibition of discrimination “on the basis

of sex,” 20 U.S.C. § 1681(a), with Title VII’s prohibition on discrimination “because

of … sex,” 42 U.S.C. § 2000e-2(a)(1). But the Bostock court ruled that the phrase “because

of” in Title VII mandated a sweeping but-for causation requirement. Bostock, 590 U.S. at

656. The U.S. Supreme Court has tendered no such ruling regarding the phrase “on the

basis of sex” as used in Title IX. 20 U.S.C. § 1681(a). To the contrary. “On the basis of

sex” references to one’s “biological sex.” It does not mean does not mean “on the basis of

gender identity” or “on the basis of sexual orientation.”

       41.     Indeed, even though Title IX provides that recipients of federal funding for

education programs or activities shall not discriminate “on the basis of sex,” 20 U.S.C.

§ 1681(a), Title IX explicitly authorizes separation based on sex in certain situations,

including “maintaining separate living facilities for the different sexes,” 20 U.S.C. § 1686,

and specified single-sex educational institutions, organizations, activities, and scholarship

awards, 20 U.S.C. § 1681(a). These exceptions presume—and only make sense in the

context of—biological sex.

       42.     In any event, the Final Rule misinterprets the holding of Bostock, 590 U.S.

644, and the definition of “sex” discrimination adopted by the Bostock majority. Bostock
does not hold that discrimination on account of “sexual orientation” or “gender identity”

is discrimination on account of “sex.” Bostock holds only that Title VII’s prohibition on

“sex” discrimination prohibits employers from firing or refusing to hire individuals “for

being homosexual or transgender.”

       43.     Bostock explains that an employer who fires an employee for conduct or

personal attributes that it would tolerate in a person of the opposite biological sex has made

the employee’s sex the “but-for cause” of his discharge, and that (in the Court’s view)

automatically violates the statutory command of Title VII. The Court explained:
       If the employer fires the male employee for no reason other than the fact he
       is attracted to men, the employer discriminates against him for traits or

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        actions it tolerates in his female colleague. Put differently, the employer
        intentionally singles out an employee to fire based in part on the employee’s
        sex, and the affected employee’s sex is a but-for cause of his discharge. Or
        take an employer who fires a transgender person who was identified as a
        male at birth but who now identifies as a female. If the employer retains an
        otherwise identical employee who was identified as female at birth, the
        employer intentionally penalizes a person identified as male at birth for
        traits or actions that it tolerates in an employee identified as female at birth.
        Again, the individual employee’s sex plays an unmistakable and
        impermissible role in the discharge decision.
Bostock, 590 U.S. at 660.
        44.     Bostock also makes clear that an employer does not violate Title VII or

engage in “sex” discrimination if it fires an employee for conduct or personal attributes

that it would not tolerate in an employee of the opposite biological sex:
        Take an employer who fires a female employee for tardiness or
        incompetence or simply supporting the wrong sports team. Assuming the
        employer would not have tolerated the same trait in a man, Title VII stands
        silent.
Bostock, 590 U.S. at 660
        45.     Bostock does not prohibit employers (or anyone else) from discriminating on

account of sexual orientation or gender identity, so long as they do not engage in “sex”

discrimination when doing so. For example, Bostock does not prohibit Title IX recipients

from discriminating against bisexual students or individuals, so long as the covered entity

regards bisexual behavior or orientation as equally unacceptable in a man or a woman. See,

e.g., Bostock, 590 U.S. at 660; see also id. at 658 (“[F]iring [a] person for actions or attributes

it would tolerate in an individual of another sex … discriminates against that person in

violation of Title VII.”).

        46.      Discrimination against bisexuals is certainly discrimination on account of

“sexual orientation,” but it is not discrimination on account of “sex.”




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        47.     Bostock allows discrimination against homosexual or transgender

individuals, so long as it is done pursuant to rules or policies that apply equally to both sexes

and would lead to the same result if the individual’s biological different were different.

        48.     A teacher or professor, for example, may refuse to accommodate a

transgender or non-binary student’s demands to be referred to by the singular pronoun

“they”—so long as the teacher or professor refuses demands for such pronoun usage on

equal terms from a biological male or a biological woman, and would equally refuse to honor

the transgender or non-binary student’s request if that student’s biological sex were

different.

        49.     Even if the Department considers policies or practices of that sort to be

regarded as discrimination against transgender or non-binary individuals, they do not

constitute “sex” discrimination as defined in Bostock because the rules apply equally to

both biological sexes. See Bostock, 590 U.S. at 669 (“We agree that homosexuality and

transgender status are distinct concepts from sex.”).

        50.     The Final Rule wrongly equates discrimination on account of sexual

orientation and gender identity with “sex” discrimination. Yet there are many ways in

which entities covered by Title IX can discriminate against homosexual, bisexual,
transgender, or non-binary individuals without engaging in “sex” discrimination as defined

in Bostock.

        51.     The Final Rule further conflicts with the reasoning of Bostock because that

case did not find that all sex-based distinctions were prohibited. Bostock repeatedly cited

the Court’s earlier decision in Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75 (1998),

as authority. Oncale explained that Title VII “does not reach genuine but innocuous

differences in the ways men and women routinely interact with members of the same sex

and of the opposite sex,” and “requires neither asexuality nor androgyny in the

workplace.” Id. at 81.


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        52.     The Oncale Court noted the central concern of Title VII was not every aspect

of interaction in the workplace but “whether members of one sex are exposed to

disadvantageous terms or conditions of employment to which members of the other sex are

not exposed.” Id. at 80 (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17, 25 (1993)

(Ginsburg, J., concurring)).

        53.     The Second Circuit—in one of the cases consolidated with and affirmed in

Bostock—also favorably cites Oncale as “arguably” supporting the view that “sex-specific

bathroom and grooming policies [do not] impose disadvantageous terms or conditions”

because not all distinctions of “‘sexual content or connotations’ rise to the level of

discrimination.” Zarda v. Altitude Express, Inc., 883 F.3d 100, 119 & n.16 (2d Cir. 2018) (en

banc) (quoting Oncale, 523 U.S. at 79–80)); see also West v. Radtke, 48 F.4th 836, 849 (7th

Cir. 2022) (finding Title VII would not be violated by preventing transgender prison guard

from performing strip searches of opposite-sex inmates).

        54.     Relatedly, Bostock also cautioned that “Title VII does not concern itself with

everything that happens ‘because of’ sex,” 590 U.S. at 657—only discrimination that is

“inextricably” related to sex is forbidden; distinctions “related to sex in some vague

sense” or having only “some disparate impact on one sex or the other” are not reached by
the statute. Id. at 660–61.

        55.     Bostock did not overturn any Supreme Court precedents, instead resting on

those dating to the 1970s. It also did not disturb lower-court precedent that has long applied

those same precedents. “[T]the Court relied in Bostock on the same well established Title

VII principles that animated the outcome in those prior decisions [of lower courts that

applied the same key precedents, so those courts] effectively anticipated Bostock’s

rationale.” Maner v. Dignity Health, 9 F.4th 1114, 1124 (9th Cir. 2021) (Bea, J.) (explaining

Bostock did not overturn decades of lower-court precedents rejecting “paramour

preference” theory of liability).


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          56.   This is consistent with Willingham v. Macon Tel. Publ’g Co., 507 F.2d 1084

(5th Cir. 1975) (en banc), which upheld sex-specific grooming codes under Title VII.

Willingham applied Phillips v. Martin Marietta Corp., 400 U.S. 542 (1971), one of the key

cases the Supreme Court relied on in Bostock. The Second Circuit in Zarda— which relied

on the same key precedents that the Supreme Court would later adopt in Bostock (Martin

Marietta and L.A. Dep’t of Water & Power v. Manhart, 435 U.S. 702 (1978))—favorably cited

Willingham as consistent with its analysis, 883 F.3d at 118–19.

          57.   In short, Bostock did not nullify the Supreme Court’s longstanding

acceptance of differences between the sexes. It did not question any longstanding precedent

beyond the narrow question before it: whether “[a]n employer who fires an individual

merely for being gay or transgender defies the law.” Bostock, 590 U.S. at 683 (emphasis

added).

                         The Clear Statement Rule
                     and the Major Questions Doctrine
          58.   Even if there were ambiguity on whether Title IX adopts the Final Rule’s

definition of discrimination “on the basis of sex,” that ambiguity must be resolved in favor

of the State because conditions on federal funding must be stated clearly. Adams, 57 F.4th

at 815.

          59.   Congress enacted Title IX pursuant to its powers under the Spending

Clause. Davis, 526 U.S. at 640 (“[W]e have repeatedly treated Title IX as legislation

enacted pursuant to Congress’ authority under the Spending Clause[.]”). If Congress

intends to impose a condition on the grant of federal funding under Title IX, it must do so

with “a clear voice,” “unambiguously.” Pennhurst State Sch. & Hosp. v. Halderman, 451

U.S. 1, 17 (1981).

          60.   This clear statement rule is required when imposing a condition on federal

funding because “legislation enacted pursuant to the spending power is much in the nature

of a contract: in return for federal funds, the States agree to comply with federally imposed

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conditions.” Adams, 57 F.4th at 815 (citing Pennhurst State School and Hospital v.

Halderman, 451 U.S. 1, 17 (1981). “Recipients cannot knowingly accept the deal with the

Federal Government unless they would clearly understand the obligations that would come

along with doing so.” Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212, 219 (2022)

(internal quotations omitted).

        61.     The use of the word “sex” in Title IX did not put educational institutions

and programs on notice that by accepting funding from the federal government for

educational services and activities, they are prohibited from providing bathrooms or other

facilities for the two sexes. See Adams, 57 F.4th at 816. That is clear not only from historical

practice but from Defendants’ longstanding interpretation of Title IX and its implementing

regulations, which “include provisions that presuppose sex as a binary classification.” 85

Fed. Reg. at 30,178.

        62.     Similarly, courts will not assume that Congress has assigned questions of

“deep economic and political significance” to an agency unless Congress has done so

expressly. See King v. Burwell, 576 U.S. 473, 486 (2015); FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 160 (2000).

        63.     “We expect Congress to speak clearly when authorizing an agency to
exercise powers of vast economic and political significance.” Ala. Ass’n of Realtors v. Dep’t

of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (quoting Utility Air Regulatory Grp.

v. EPA, 573 U.S. 302, 324 (2014)).

        64.     “Congress typically [does not] use oblique or elliptical language to empower

an agency to make a radical or fundamental change to a statutory scheme …We presume

that Congress intends to make major policy decisions itself, not leave those decisions to

agencies.” Id. (cleaned up); see also Brown & Williamson Tobacco Corp., 529 U.S. at 160.

        65.     The Final Rule will affect all elementary schools, secondary schools,

postsecondary institutions, and other recipients of federal financial funds with far-reaching

social and economic impact. Yet Title IX’s language cannot be plausibly read to smuggle in
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a power for federal agencies to overturn the “unremarkable—and nearly universal—

practice[s]” common in States’ governance of schools. Adams, 57 F.4th at 796.

                       If Bostock Applies to Title IX,
                          the Final Rule Violates It
       66.     In addition, even if Title IX covered discrimination on the bases of sexual

orientation and gender identity, the Final Rule interprets Title IX’s anti-discrimination

provision as requiring accommodations for gender identity even though Title IX—unlike

Title VII’s prohibition on religious discrimination and the disability discrimination
provisions of the Rehabilitation Act and the Americans with Disabilities Act—has no

accommodation requirement.

       67.     The Final Rule requires exceptions from admittedly lawful sex-segregated

policies and facilities for those whose gender identity is transgender—and only for them,

as schools would still be allowed to prevent biological males who do not identify as women

from entering female-only spaces and programs. See Fed. Reg. at 33,818 (under Final Rule,

“sex separation in certain circumstances, including in the context of bathrooms or locker

rooms, is not presumptively unlawful sex discrimination” but when a school “denies a

transgender student access to a sex-separate facility or activity consistent with that

student’s gender identity, this would violate Title IX’s general nondiscrimination
mandate”); id. at 33,887 (to be codified at 34 C.F.R. § 106.31: where Title IX permits

“different treatment or separation in a manner that discriminates on the basis of sex,” the

Final Rule requires “sex” to be determined by gender identity); id. at 33,820 (reasoning

that non-transgender students are not harmed by being denied access to sex-separated

facilities such as restrooms and locker rooms, so only transgender students are protected

by the new 34 C.F.R. § 106.31(a)(2) that prohibits “more than de minimis harm”).

       68.     Consider standard bathroom norms. All biological males, regardless of their

gender identity, may use the men’s bathroom; all biological females, regardless of their

gender identity, may use the women’s bathroom. “Separating bathrooms based on sex

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dates back as far as written history will take us,” long before the concept of gender identity

even existed. Adams, 3 F.4th at 1328 (Pryor, C.J., dissenting) (cleaned up), rev’d, 57 F.4th

791. These policies do not even consider “gender identity,” and therefore cannot be

described as discriminating based on that category. Cf. Raytheon Co. v. Hernandez, 540 U.S.

44, 54 n.7 (2003) (“[I]f no part of the hiring decision turned on [the applicant’s] status as

disabled, he cannot, ipso facto, have been subject to disparate treatment”). “Separating

bathrooms by sex treats people differently on the basis of sex … [but] the mere act of

determining an individual’s sex, using the same rubric for both sexes, does not treat anyone

differently on the basis of sex.” Adams, 3 F.4th at 1325–26 (Pryor, C.J., dissenting).

        69.     The Final Rule purports to allow sex-specific bathrooms, locker rooms, and

showers (explicitly) and sex-specific dress codes and pronoun usage policies (implicitly)

as a general matter. But it then “tr[ied] to work around [those concessions] with a linguistic

device.” Doe 2 v. Shanahan, 917 F.3d 694, 723 (D.C. Cir. 2019) (Williams, J., concurring in

the result) (criticizing plaintiffs’ concession that military may have sex-specific standards

while arguing that “sex” should be determined by subjective gender identity). It is no

consolation to tell schools they can still have sex-specific bathrooms (or dress codes or

pronoun usage) so long as they allow exceptions for individuals who subjectively identify
as the opposite sex.

        70.     If schools may have separate facilities or policies for men and women, as the

Final Rule concedes, then they may also require compliance with those policies. Cf.

Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts § 30, at

192–93 (2012) (“[W]henever a power is given by a statute, everything necessary to making

it effectual or requisite to attaining the end is implied.”) (citation omitted). The same is true

for sex-specific dress codes or allowing the use of gendered pronouns as part of standard

English in schools; such policies do not classify based on the gender identity of anyone but

disregard that concept altogether, exactly as Bostock requires. Indeed, to allow schools to


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have sex-specific policies, but then require them to have exemptions only for transgender

employees, violates Bostock because such a rule discriminates based on gender identity.

   C. The Final Rule’s Irreparable Harm to Texas

Texas is harmed by the Final Rule in several ways.

                            Object of the Regulation
       71.     Texas administers numerous education programs and operates thousands

of educational institutions through its constituent agencies and political subdivisions,

including programs and institutions that receive federal funding and are subject to Title IX

and its effectuating regulations.

       72.     The Texas Constitution charges the Texas Legislature “to establish and

make suitable provision for the support and maintenance of an efficient system of public

free schools.” Tex. Const. art. VII, § 1.

       73.     Pursuant to this charge, Texas funds, regulates, and oversees the Nation’s

second-largest K–12 public education system, serving over 5.4 million students across

1,200 school districts. Tex. Educ. Agency, Enrollment in Texas Public Schools 2021-22 at ix

(June 2022), http://bit.ly/3WcXeeC.
       74.     In the 2021-2022 biennium, Texas received approximately $6.6 billion

dollars in federal funds for its K-12 education. Tex. Educ. Agency, 2022 Comprehensive
Biennial Report on Texas Public Schools at 239 (Dec. 2020), https://bit.ly/4a2Y9Bw.

       75.     Texas also funds, supports, and administers a robust higher education

network. Texas is home to 119 public postsecondary institutions, including 37 universities

and 82 two-year colleges and technical schools. See Tex. Higher Educ. Coordinating Bd.,

2020 Texas Public Higher Education Almanac at 28, 47 (Sept. 28, 2020),

https://bit.ly/3wguAP9.

       76.     While most States have just one or two public university systems, Texas has

six. The largest of these systems—the University of Texas—has 14 separate locations that


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educate approximately 256,000 students each year. See About The University of Texas

System,         THE   UNIVERSITY        OF     TEXAS      SYSTEM,        https://www.utsystem

.edu/about. All told, the State’s entire higher education network enrolled almost 1.7 million

students in 2019. See 2020 Texas Public Higher Education Almanac, supra, at 13.

          77.     Public   postsecondary     education    institutions   in   Texas    received

approximately $2.5 billion in federal funding during fiscal year 2022.

          78.     As a condition of receiving federal funding, Title IX protections against sex-

based discrimination apply to state educational institutions. See 20 U.S.C. § 1681. Hence,

should Texas, or any of Texas’s affiliated academic institutions, deviate from the

Department’s guidance effectuating Title IX, that departure would invite enforcement

actions at the risk of significant monetary penalties, up to and including the loss of federal

money.

          79.     Texas educational institutions rely on federal funding and will be irreparably

harmed if they lose their funding because of their reliance on 50 years of Title IX practice

and legal precedent interpreting “on the basis of sex” to mean biological sex, not “sexual

orientation” and “gender identity.”

          80.     It is a “fundamental canon of statutory construction” that, “unless

otherwise defined, words will be interpreted as taking their ordinary, contemporary,

common meaning” at the time of enactment. Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227

(2014) (quoting Perrin v. United States, 444 U.S. 37, 42 (1979)); Scalia & Garner, supra, at

16 (same).

          81.     No dictionary at the time Title IX was enacted defined “sex” to include

“gender identity” or “sexual orientation.” Adams, 57 F.4th at 812–13.

          82.     Texas, relying on the contemporary (and etymological) meaning of “sex”

when Title IX was enacted, adopted laws, policies, and procedures, and significantly

invested in an entire infrastructure to implement its education systems. The Final Rule


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upends these important reliance interests and usurps Texas’s sovereignty by adding

“gender identity” and “sexual orientation.”

       83.       The Final Rule refuses to define “gender identity” and “sexual

orientation,” nor whether both fixed and fluid identities and orientations are protected.

       84.       The Final Rule’s protections for an ever-fluctuating number of gender

identities and sexual orientations, which individuals can allegedly change at any time,

anywhere, and for any reason, undermines Title IX’s original sex-based protections. See

United States v. Varner, 948 F.3d 250, 256–58 (5th Cir. 2020) (examining bewildering

assortment of purported gender identities and bespoke pronouns).

       85.       Texas independent school districts and Texas public universities are

instrumentalities of the State. See, e.g., Mission Consol. Indep. Sch. Dist. v. Garcia, 253

S.W.3d 653, 660 (Tex. 2008).

       86.       Federal funding allocated to Texas’s post-secondary public universities,

technical educational institutions, health-related educational institutions, and community

colleges is managed by the Texas Higher Education Coordinating Board (THECB).

       87.       In fiscal year 2022, Texas public universities received more than $3.8 billion

in federal funding; Texas community colleges received more than $2.1 billion in federal
funds; Texas technical educational institutions received more than $100 million in federal

funds; and Texas health-related educational institutions received more than $1.5 billion in

federal funds. See Texas Higher Education Coordinating Board, Sources and Uses Report,

Accessed April 27, 2024, at https://bit.ly/3QmFLww.

       88.       The Final Rule threatens to withdraw federal funding from Texas

educational institutions. The Department may pursue enforcement actions against

educational facilities that are out of compliance with its aberrant interpretation of Title IX

and penalize any institution deemed non-compliant by withholding funds. See U.S.C.

§§ 1681, 1682.


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        89.     Complying with Title IX costs Texas money. Texas educational institutions

undertake internal efforts to ensure compliance with Title IX, including federal regulations

promulgated pursuant to Title IX. These efforts involve but are not exhausted by hiring

staff to perform compliance reviews, facilitate the Title IX grievance process, and respond

to lawsuits that stem from allegations of liability under Title IX protections.

        90.     These and other compliance efforts incur considerable expense to State

educational facilities. The costs of complying with Title IX will likely increase when the

Department of Education adopts new regulations that create additional requirements or

make existing requirements more demanding.

        91.     Even the Department’s low regulatory cost estimates reveal a substantial

monetary burden on state educational facilities. Overall, the Department estimates more

than $98 million in short-term compliance costs, some of which will fall on Texas schools.

See 89 Fed. Reg. at 33,861.

        92.     Further aspects of the Department’s regulatory burden analysis reflect an

arbitrary and capricious consideration of relevant information. The Department failed to

adequately consider how expanding Title IX to apply to gender identity would impose new

regulatory burdens on recipients. With no reasonable explanation, the Department asserts
that extending Title IX protections to an entirely new class will not add new compliance

costs or create additional liability. See id. at 33,876.

        93.     Contrary to the Department, responsible deliberation during the

rulemaking phase would have concluded that expanding Title IX’s anti-discrimination

mandate to cover gender identity will likely increase costs for recipients, including Texas

educational institutions.

        94.     Nor could the Department have reasonably concluded that the new rule

would not interfere with local and State governments “in the exercise of their governmental

functions.” Id. at 33,859.


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                   Expansion of Liability under Title IX
        95.     Educational institutions are subject to liability for alleged violations of Title

IX. See generally, Cannon v. Univ. of Chicago, 441 U.S. 677 (1979); Fitzgerald v. Barnstable

Sch. Comm., 555 U.S. 246, (2009). The Final Rule forces a waiver of Texas’s sovereign

immunity as to certain regulatory requirements without its consent.

        96.     The Final Rule greatly expands the scope of Title IX protections, thereby

expanding the range of conduct that could give rise to a lawsuit against Texas educational

institutions.

        97.     The Department’s decision to change the definition of “sexual

harassment” from one grounded in a solely objective standard to one based on a hybrid

objective and subjective standard, see 89 Fed. Reg. 33,511, 33,885, opens the door to an

upsurge of sexual harassment lawsuits brought against Texas educational facilities.

        98.     To comply with the Final Rule, Texas educational facilities must

substantially overhaul their existing practices regarding Title IX grievances.

                    Infringement on Texas’s sovereignty
        99.     The Final Rule injures Texas by obstructing its sovereign authority to

enforce and administer its laws and by imposing substantial pressure on Texas to change

its laws and policies. See Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.

592, 601 (1982) (impeding a state’s sovereign interest in creating and enforcing a legal code

was an injury-in-fact sufficient to find standing); see also Texas v. United States, 809 F.3d

134, 153 (5th Cir. 2015) (“[S]tates may have standing based on (1) federal assertions of

authority to regulate matters they believe they control, (2) federal preemption of state law,

and (3) federal interference with the enforcement of state law[.]”).

        100.    The Final Rule also conflicts with the policies adopted by some of Texas’s

political subdivisions—pursuant to authority granted by state law—regarding separating

school bathrooms and locker rooms by biological sex. For example, the Carroll, Frisco, and

Grapevine–Colleyville Independent School Districts require schools owned or operated by

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the districts to separate bathrooms, locker rooms, shower rooms, and other similar facilities

based on biological sex determined at birth and correctly identified on a person’s birth

certificate.

        101.   The Final Rule conflicts with each of these policies by treating them as

unlawful sex discrimination and by requiring school districts to change their policies to

separate bathrooms, locker rooms, showers, and changing facilities based on gender

identity instead of biological sex to remain in compliance with the Rule. See 89 Fed. Reg.

at 33,886 (to be codified at 34 C.F.R. § 106.10).

        102.   The Final Rule requires using pronouns that are consistent with a person’s

gender identity rather than biological sex, which conflicts with policies adopted by some of

Texas’s political subdivisions and is not required by Texas state law. For example, the

Carroll and Grapevine–Colleyville Independent School Districts have adopted policies that

prohibit district employees from requiring the use of pronouns that are inconsistent with a

person’s biological sex as correctly identified on a person’s birth certificate or other

government-issued record.

        103.   The Final Rule conflicts with these policies by treating them as unlawful sex

discrimination and by requiring school districts to change their policies to use pronouns
based on a person’s gender identity instead of biological sex to remain in compliance with

the Final Rule. See 89 Fed. Reg. at 33,886 (to be codified at 34 C.F.R. § 106.10). Compliance

with the Final Rule would expose the school districts to liability for violating district

employees’ and students’ religious freedom and free speech rights, despite district policies

protecting those rights.

        104.   The Final Rule also conflicts with the policies adopted by some of Texas’s

political subdivisions regarding school library materials and other instructional resources.

For example, Granbury Independent School District has adopted policies regarding the

availability of vulgar material in its libraries which arguably conflicts with the Department’s

intended enforcement of the Rule.
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       105.    Grapevine-Colleyville Independent School District has adopted a policy

prohibiting district personnel and agents from teaching, instructing, training, or otherwise

promoting gender fluidity.

       106.    Keller Independent School District has adopted a policy prohibiting the

inclusion of discussion or depiction of gender fluidity in its instructional resources and

library materials.

       107.    The Final Rule conflicts with each of the policies by treating them as

unlawful sex discrimination and by requiring school districts to change their policies to

promote gender fluidity to remain in compliance with the Final Rule. See 89 Fed. Reg. at

33,886 (to be codified at 34 C.F.R. § 106.10).

       108.    The Final Rule explicitly preempts contrary state laws and directs recipients

of Title IX funding to comply with the Final Rule in the event of a conflict with state law.

See 89 Fed. Reg. at 33,885 (to be codified at 34 C.F.R. § 106.6). These injuries are sufficient

to establish Texas’s standing.

       109.    Texas’s injuries are directly traceable to the Final Rule. They would be

redressed by the relief sought in this case, which includes preliminarily enjoining

Defendants from enforcing the Final Rule and vacating it in its entirety. See Texas v. EEOC,
933 F.3d 433, 449 (5th Cir. 2019).




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                                        IV.     Claims

                                        Count I
                       The Final Rule Exceeds Statutory Authority
                           and is Not in Accordance with Law
                                     5 U.S.C. § 706
        110.     Plaintiff incorporates by reference all other paragraphs.

        111.     Under the APA, a court must “hold unlawful and set aside agency action”

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law” or “in excess of statutory … authority, or limitations, or short of statutory right.” See

5 U.S.C. § 706(2)(A), (C).

        112.     The Final Rule is not in accordance with law and exceeds the Department’s

statutory authority because it relies upon the interpretation of Title VII described in Bostock

and applies it to Title IX, despite the textual and structural differences between the two

statutes and the express disclaimer in Bostock that its holding did not apply to other federal

or state laws.

        113.     The Final Rule is not in accordance with law and exceeds the Department’s

statutory authority because the plain language of Title IX and its implementing regulations

allow recipients of federal education funds to distinguish between biological males and

biological females in situations the Final Rule condemns. And the correct interpretation of

Title IX’s prohibition on discrimination “on the basis of sex” does not include protections

for the concepts of sexual orientation or gender identity.

        114.     The Final Rule is also not in accordance with law and exceeds the

Department’s statutory authority because it compels recipients to violate the First

Amendment to remain compliant with Title IX. Specifically, the Final Rule discards the

definition of sexual harassment initially articulated in Davis and adopted by the Department

in its 2020 rulemaking, in favor of a weaker standard that encompasses constitutionally
protected activity.



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       115.    The Final Rule also expands recipients’ liability far beyond what Title IX

allows, such as by reinterpreting the word “sex” to include “sexual orientation” and

“gender identity.” Hence, not only does the Final Rule fundamentally rewrite Title IX’s

prohibition on sex-based discrimination, but the failure to affirm a student’s gender identity

would constitute “sex-based harassment.” See, e.g., 89 Fed. Reg. at 33,884.

       116.    Recipients have an obligation under the Final Rule to “take specific

actions … to promptly and effectively prevent sex discrimination,” including what the

Final Rule defines as sex-based harassment. 89 Fed. Reg. at 33,887. It follows that recipients

would have an obligation under the Final Rule to confront students and employees who

refuse to affirm someone’s gender identity, up to and including disciplinary proceedings,

or risk being found in noncompliance with Title IX.

       117.    Defendants did not act in accordance with the law and exceeded their

statutory and regulatory authority when promulgating the Final Rule, and they do not act

in accordance with the law and exceed their statutory and regulatory authority when

enforcing the policies set forth in these regulations.

                                      Count II
                        Arbitrary and Capricious Agency Action
                                    5 U.S.C. § 706
       118.    Plaintiff incorporates by reference all other paragraphs.

       119.    The Final Rule is final agency action subject to review under the APA.

“Normally, an agency rule would be arbitrary and capricious if the agency has relied on

factors which Congress has not intended it to consider, entirely failed to consider an

important aspect of the problem, offered an explanation for its decision that runs counter

to the evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S.,
Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).




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        120.       “[A]gency action” is “the whole or a part of an agency rule, order, license,

sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13).

An agency “rule” is defined as “the whole or a part of an agency statement of general or

particular applicability and future effect designed to implement, interpret, or prescribe law

or policy or describing the organization, procedure, or practice requirements of an agency.”

Id. at § 551(4).

        121.       An agency action is arbitrary or capricious if it fails to “articulate a

satisfactory explanation for its action including a rational connection between the facts

found and the choice made.” State Farm, 463 U.S. at 43. Under the APA, a court must

“hold unlawful and set aside agency action” that is “arbitrary and capricious.” 5 U.S.C.

§ 706(2)(A).

        122.       Defendants did not engage in reasoned decisionmaking, but instead acted

arbitrarily and capriciously in issuing the Final Rule.

        123.       Defendants dismissed case law that recognized that “Bostock … was limited

only to Title VII itself” and “does not stretch to [other statutes].” Pelcha v. MW Bancorp,

Inc., 988 F.3d 318, 324 (6th Cir. 2021); Neese v. Becerra, 640 F. Supp. 3d 668 (N.D. Tex.

2022) (Kacsmaryk, J.); compare 89 Fed. Reg. at 33,806.
        124.       The Final Rule also fails to adequately consider the effects of its terms on

the States. See generally 89 Fed. Reg. 33,474–33,896.

        125.       Defendants expressly “decline[d] to opine on how [the Final Rule] interacts

or conflicts with any specific State laws because it would require a fact-specific analysis,”

and instead “refer[red] the public to § 106.6(b), which affirms that a [school’s] obligation

to comply with Title IX and the regulations is not obviated or alleviated by any State or

local law.” 89 Fed. Reg. 33,822. This does not satisfy Defendants’ obligation to

“adequately assess reliance interests” or “reasonably consider[] the relevant issues and

reasonably explain[] the decision.” Texas v. Biden, 10 F.4th 538, 552, 555 (5th Cir. 2021).


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          126.   The Final Rule also fails to adequately articulate its departure from

established Supreme Court precedent related to sex-based harassment, as well as previous

policies adopted by the Department in previous rulemakings.

                                    V.      Demand for Relief

          This Court is authorized to award the requested vacatur and declaratory and

injunctive relief under the APA, 5 U.S.C. §§ 702, 705, and 706; 28 U.S.C. § 1361; the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202; Federal Rules of Civil Procedure 57

and 65; and the general and legal equitable powers of the Court. For these reasons, Texas

respectfully requests that the Court:

   i.        Postpone the effective date of the Final Rule under 5 U.S.C. § 705 and hold

             unlawful and set aside (i.e., vacate) the Final Rule under 5 U.S.C. § 706(2);

   ii.       Declare that the Final Rule is contrary to Title IX and exceeds agency authority;

   iii.      Declare that the Final Rule was not a result of in reasoned decisionmaking but

             is instead arbitrary and capricious;

   iv.       Issue preliminary and permanent injunctive relief prohibiting Defendants from

             interpreting or enforcing Title IX as barring discrimination based on sexual

             orientation or gender identity—including by denying federal financial
             assistance or by otherwise pursuing, charging, or assessing any penalties, fines,

             assessments, investigations, or other enforcement actions—and from

             enforcing, implementing, or relying on the Final Rule against the State of Texas

             (including any of its instrumentalities, agencies, and political subdivisions); and

   v.        Award such other relief as the Court deems equitable and just.




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Dated: April 29, 2024.                        Respectfully submitted.

 KEN PAXTON                                   /s/Ryan D. Walters
 Attorney General of Texas                    RYAN D. WALTERS
                                              Chief, Special Litigation Division
 BRENT WEBSTER                                Texas Bar No. 24105085
 First Assistant Attorney General             Ryan.Walters@oag.texas.gov

 RALPH MOLINA                                 AMY SNOW HILTON
 Deputy Attorney General for Legal Strategy   Special Counsel
                                              Texas Bar No. 24097834
 GENE P. HAMILTON                             Amy.Hilton@oag.texas.gov
 America First Legal Foundation
 Virginia Bar No. 80434                       KATHLEEN T. HUNKER
 611 Pennsylvania Ave. SE #231                Special Counsel
 Washington, DC 20003                         Texas Bar No. 24118415
 (202) 964-3721                               Kathleen.Hunker@oag.texas.gov
 Gene.Hamilton@aflegal.org
                                              JOHNATHAN STONE
 JONATHAN F. MITCHELL                         Special Counsel
 Texas Bar No. 24075463                       Tex. State Bar No. 24071779
 Mitchell Law PLLC                            Johnathan.Stone@oag.texas.gov
 111 Congress Avenue, Suite 400
 Austin, Texas 78701
 (512) 686-3940 (phone)                       Office of the Attorney General of Texas
 (512) 686-3941 (fax)                         Special Litigation Division
 Jonathan@mitchell.law                        P.O. Box 12548, Capitol Station
                                              Austin, Texas 78711-2548
                                              Telephone: 512-463-2100
                                              Fax: 512-457-4410

                                              COUNSEL FOR PLAINTIFF
                                              STATE OF TEXAS




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